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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       PIKEVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
         Plaintiff,                               )           Criminal No. 07-34-GFVT
                                                  )
 V.                                               )
                                                  )
 KENNY DARRYL HAMILTON,                           )                     ORDER
                                                  )
         Defendant.                               )

                                        *** *** *** ***

       This matter is before the Court upon the Report and Recommendation [R. 740] filed by

Magistrate Judge Atkins. Therein, Judge Atkins recommends that the Court deny the

Defendant’s Motion to Vacate his sentence [R. 669] and grant the United States’ Motion to

Dismiss [R. 697]. Judge Atkins further advised the parties that any objections to the Report and

Recommendation must be filed within fourteen (14) days of service. As of this date, neither

party has filed objections nor sought an extension of time to do so.

       Generally, this Court must make a de novo determination of those portions of the Report

and Recommendation to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, this Court is not required to “review . . . a magistrate’s factual or legal

conclusions, under a de novo or any other standard . . . .” See Thomas v. Arn, 474 U.S. 140, 151

(1985). Parties who fail to object to a magistrate’s report and recommendation are also barred

from appealing a district court’s order adopting that report and recommendation. United States v.

Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this Court has examined the record, and it

agrees with the Magistrate Judge’s recommendation.
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       In his motion to vacate, set aside, or correct his sentence, Hamilton sought relief based on

the Government’s alleged failure to comply with terms of the plea agreement. According to

Hamilton, the United States failed to file a Fed. R. Crim. P. 35(b) motion to reduce Hamilton’s

sentence. While the motion to vacate was pending, however, the United States filed such a

motion [R. 692] and the Court ultimately reduced Hamilton’s sentence [see R. 736, 739].

Hamilton now concedes that his motion to vacate is moot.

       Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Magistrate Judge’s Report and Recommendation [R. 740] is ADOPTED as

and for the opinion of the Court; and

       2.      The Defendant’s Motion to Vacate [R. 669] is DENIED as moot;

       3.      The United States’ Motion to Dismiss is GRANTED.

       This the 17th day of November, 2010.




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